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                    IN THE UNITED STATES DISTRICT COURT FOR 7                          ,
                        THE SOUTHERN DISTRICT OF GEORGIA                              i Mil if - 11
                                  STATESBORO DIVISION

                                                                               31 ^ioLUrGA.
UNITED STATES OF AMERICA


       V.



Mark Darnell Porter                                       CASE NO. 6:12CR00012-002



                                           ORDER


       Defendant Mark Darnell Porter has filed a Motion for Sentence Reduction Pursuant to 18

U.S.C. § 3582(c)andAmendment 794to the United StatesSentencing Guidelines. Amendment 794

was effective on November 1, 2015. This Amendment modified the Commentary to U.S.S.G. §

3B1.2 (Mitigating Role) to give sentencing covirts additional guidance in determining whether a

mitigating role adjustment applies.

       Amendments to the Guidelines mayonlybe appliedretroactively if theyare listedat Section

1B1.10(d) oftheUnited States Sentencing Guidelines Manual. Amendment 794 isnotfound within

that list. As such, a reduction to Defendant's sentence under 18 U.S.C. § 3582(c)(2) is not

authorized.


       Defendant's Motion is DENIED.


                SO ORDERED, this \1 day ofNov^

                                                   lilSA G6DBEY wood, chief JUDGE
                                                   IMIXED STATES DISTRICT COURT
                                                   SOTTHERN DISTRICT OF GEORGIA
